Case 2:21-cv-09423-AB-GJS Document 30-7 Filed 02/02/22 Page 1 of 2 Page ID #:125




   1
   2
   3
   4
   5
   6
   7
   8                       UNITED STATES DISTRICT COURT
   9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 HOLLYWOOD INNOVATIONS                    Case No. 2:21-cv-9423
     GROUP LLC,
  12                                          [PROPOSED] ORDER GRANTING
                 Plaintiff,                   DEFENDANT NETFLIX, INC.’S
  13                                          MOTION TO DISMISS
           vs.
  14                                          Judge: Hon. André Birotte Jr.
     NETFLIX, INC., a Delaware
  15 Corporation, ZIP CINEMA CO. LTD.,
     a South Korean Corporation, KAKAO
  16 ENTERTAINMENT CORP., a South
     Korean Corporation, PERSPECTIVE
  17 PICTURES CO. LTD, a South Korean
     Corporation, and Does 1-10, inclusive,
  18
                 Defendants.
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
Case 2:21-cv-09423-AB-GJS Document 30-7 Filed 02/02/22 Page 2 of 2 Page ID #:126




   1        Defendant Netflix, Inc. has filed a Motion to Dismiss Plaintiff’s Complaint
   2 under Fed. R. Civ. P. 12(b)(6), the doctrine of forum non conveniens, or
   3 alternatively, Fed. R. Civ. P. 19, which came for hearing before this Court on March
   4 4, 2022.
   5        Having considered Defendant’s papers, and good cause appearing therefore,
   6        IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss is
   7 GRANTED.
   8        [Plaintiff’s Complaint is dismissed with prejudice for failure to state a claim
   9 under Fed. R. Civ. P. 12(b)(6).]
  10        [or, alternatively]
  11        [Plaintiff’s Complaint is dismissed under the doctrine of forum non
  12 conveniens.]
  13        [or, alternatively]
  14        [Plaintiff’s Complaint is dismissed with prejudice for failure to join an
  15 indispensable party under Fed. R. Civ. P. 19.]
  16
  17 IT IS SO ORDERED.
  18
  19 DATED: ___, 2022
                                             Hon. André Birotte Jr.
  20
                                             United States District Judge
  21
  22
  23
  24
  25
  26
  27
  28

                                                -2-
